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                EXHIBIT F
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100% Redemption of
Outstanding BFX Tokens
POSTED ON 03 APR 2017 IN ANNOUNCEMENTS



Bitfinex is pleased to announce that we will shortly be redeeming
100% of all currently issued and outstanding BFX tokens. This will be
the final redemption of BFX tokens created in August 2016. After
these redemptions, no BFX tokens will remain outstanding; they will all
be destroyed.

A combination of factors has led to this seminal moment for Bitfinex,
including a dramatic uptick in equity conversions; record operating
results in March; and, the decision to reduce our reserves in favor of
this opportunity. We are tremendously grateful to all of our customers
and new shareholders for helping us get to this point. By the end of
this week, we will be sending notes directly to our shareholders with
more information about what to expect in the coming months.

As for the mechanics of the actual redemptions, we will be taking the
steps listed below at 20:00:00 UTC today (April 3, 2017). Most of what
follows concerns settling outstanding margin positions, but because
BFX tokens are trading so close to their face value, the effects will be
quite small. Users who are in margin positions may close them out
before settlement, or they may leave them open.

The steps and processes for the final redemptions are as follows:

   Platform-wide, we will be pausing withdrawals, wallet movements,
margin liquidations, and automatic settlement of negative balances
while the settlement process is running (this process is estimated to
last approximately 25 min).
Trading in BFX pairs will be halted.
   Lending in BFX will be halted.
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   All orders for BFX pairs will be cancelled.
   All lending orders on BFX will be cancelled.
   All margin positions in BFX will be force-claimed, even if users do
not have sufficient correct collateral to do this. Accordingly, negative
balances may be temporarily created in some cases.
   Active BFX loans will be closed and BFX will be returned to lenders.
   Any negative balances in BFX will be replaced with a negative
amount of USD in the same quantity.
   Any positive balances in BFX will be redeemed for $1 per BFX
token.
   Thereafter, normal operations will resume.

Overall we expect the entire process to take approximately 25–35
minutes. Trading in all other pairs will continue throughout this
process, with the the temporary inconvenience of not being able to
withdraw or move between wallets. We apologize in advance for any
inconvenience that this may cause any users.

Once again, we are deeply grateful for the patience and trust of our
customers and shareholders as we worked towards—and have
achieved—full recovery in just eight months. Without the community’s
support, Bitfinex could have easily become a footnote in the history of
the digital token revolution, instead of a leader and trend-setter. Thank
you.

The Bitfinex Team




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